           Case 1:15-cr-00105-LJO-SKO Document 38 Filed 08/12/15 Page 1 of 3


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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00105 LJO SKO
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   EDGAR ALEXANDER GOMEZ,                              DATE: August 31, 2015
     JENNIFER GRACE BARTHEL, and                         TIME: 1:00 p.m.
15   AUGUSTINE CASTRO SALAZAR                            COURT: Hon. Sheila K. Oberto
16                                Defendants.
17

18                                               STIPULATION

19         1.      By previous order, this matter was set for status on August 17, 2015 at 1:00 p.m..

20         2.      By this stipulation, defendants now move to continue the status conference until August

21 31, and to exclude time between August 17, 2015 at 1:00 p.m., and August 31, under Local Code T4.

22         3.      The parties agree and stipulate, and request that the Court find the following:

23                 a)      Counsel for defendants desire additional time to conduct investigation, review

24         discovery, and allow for counsel for Edgar Alexander Gomez, Dale Blickenstaff, to be available

25         at the next hearing.

26                 b)      Counsel for defendants believe that failure to grant the above-requested

27         continuance would deny counsel the reasonable time necessary for effective preparation, taking

28         into account the exercise of due diligence.


      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
      FINDINGS AND ORDER
           Case 1:15-cr-00105-LJO-SKO Document 38 Filed 08/12/15 Page 2 of 3


 1                 c)      The government does not object to the continuance.

 2                 d)      Based on the above-stated findings, the ends of justice served by continuing the

 3          case as requested outweigh the interest of the public and the defendant in a trial within the

 4          original date prescribed by the Speedy Trial Act.

 5                 e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trial must commence, the time period of August 17, 2015 at 1:00 p.m. to

 7          August 31, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

 8          Code T4] because it results from a continuance granted by the Court at defendants’ request on

 9          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

10          best interest of the public and the defendant in a speedy trial.

11          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

12 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

13 must commence.

14          IT IS SO STIPULATED.

15
     Dated: August 10, 2015                                   BENJAMIN B. WAGNER
16                                                            United States Attorney
17
                                                              /s/ MEGAN A. S. RICHARDS
18                                                            MEGAN A. S. RICHARDS
                                                              Assistant United States Attorney
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22 Dated: August 10, 2015                                     /s/ DALE BLICKENSTAFF
                                                              (authorized by email 8/10/15)
23                                                            DALE BLICKENSTAFF
24                                                            Counsel for Defendant
                                                              Edgar Alexander Gomez
25

26 Dated: August 10, 2015                                     /s/ MONICA BERMUDEZ
                                                              (authorized by email 8/10/15)
27                                                            MONICA BERMUDEZ
                                                              Counsel for Defendant
28                                                            Jennifer Grace Barthel

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        2
      FINDINGS AND ORDER
           Case 1:15-cr-00105-LJO-SKO Document 38 Filed 08/12/15 Page 3 of 3


 1 Dated: August 10, 2015                                  /s/ JOHN MEYER
                                                           (authorized by email 8/10/15)
 2                                                         JOHN MEYER
                                                           Counsel for Defendant
 3
                                                           Augustine Castro Salazar
 4

 5                                                   ORDER

 6
     IT IS SO ORDERED.
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       Dated:     August 12, 2015                                /s/ Sheila K. Oberto
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                                                     UNITED STATES MAGISTRATE JUDGE
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]     3
      FINDINGS AND ORDER
